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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
    TERESA PEGUES,                                                        CIVIL ACTION
        Plaintiff
    VERSUS                                                                NO. 18-2407
    THE BOARD OF SUPERVISORS OF                                           SECTION "E" (1)
    LOUISIANA STATE UNIVERSITY AND
    AGRICULTURAL AND MECHANICAL
    COLLEGE, LSU SCHOOL OF DENTISTRY
    AND FACULTY DENTAL PRACTICE
        Defendant

                                           ORDER

        On February 19, 2019, the Board of Supervisors of Louisiana State University and

Agricultural and Mechanical College, LSU School of Dentistry and Faculty Dental

Practice, filed its witness and exhibit list.1 The witness list and the exhibit list are deficient.

        Witnesses must be listed with specificity, including the witness’ name and

address.2 All exhibits in the exhibit list must be Bates Numbered.3

        Accordingly;

        IT IS ORDERED that Defendants file an amended witness and exhibit list

incorporating the requirements described above by Wednesday, February 27, 2019

at 5:00 p.m. A failure to comply with the Court’s order may result in Defendants being

prohibited from calling witness who are not properly named or introducing exhibits that

are not Bates numbered.

        New Orleans, Louisiana, this 21st day of February, 2019.


                                              ______________ _________________
                                                       SUSIE MORGAN
                                                UNITED STATES DISTRICT JUDGE
1 R. Doc. 48.
2 R. Doc. 23 at 8.
3 Id.
